




















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1078-13






MANUEL SANTOS MARTINEZ, Appellant



v.



THE STATE OF TEXAS






ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY






	Per curiam.


O P I N I O N 




	Appellant was initially placed on deferred adjudication probation.  When his guilt was
adjudicated, he was convicted of delivery of a controlled substance and sentenced to 35 years
in prison.  On appeal, he argued, among other things, that the evidence was insufficient to
support the $350 in court costs assessed against him in the judgment.   The Court of Appeals
agreed and modified the judgment to reflect $219 in court costs.  Martinez v. State, No. 01-12-00361-CR, 2013 Tex. App. LEXIS 9343 (Tex. App. - Houston [1st Dist.] July 30, 2013).

	The State has filed a petition for discretionary review of this decision.  We recently
handed down our opinion in Johnson v. State, No. PD-0193-13, 2014 Tex. Crim. App.
LEXIS 240 (Tex. Crim. App. February 26, 2014), in which we set forth a roadmap for
resolving questions regarding court costs.  See also Cardenas v. State, No. PD-0733-13, 2014
Tex. Crim. App. LEXIS 236 (Tex. Crim. App. February 26, 2014); Perez v. State, No. PD-0498-13, 2014 Tex. Crim. App. LEXIS 269 (Tex. Crim. App. March 12, 2014).

	The Court of Appeals in the instant case did not have the benefit of our opinions in
Johnson and Perez.  Accordingly, we grant the State's petition for discretionary review,
vacate the judgment of the Court of Appeals, and remand this case to the Court of Appeals
in light of our opinions in Johnson and Perez.  We also this day refuse Appellant's petition
for discretionary review in this case.  No motion for rehearing will be entertained.

Delivered: April 16, 2014

Do Not Publish


